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                                                                                                                      ~ J.,.. ~"''''   .




                                      UNITED STATES DISTRICT Co                                                SEP 18 2015
                                          SOUTHERN DISTRICT OF CALIFORNIA                             CLEF~, ";~,            ~'~''',GT COURT
                                                                                                  JttUTHb{.~ Dk~n""v I ,:.)i~ORNrA
             UNITED STATES OF AMERICA                               AMENDED JUDGME              IN A CRIMINAl,                             !:iUTY
                                 V.                                 (For Offenses Committed On or After November 1,1987)
             VEOVANH INSIXENGMAY (4)
                                                                       Case Number:         14CR0221 MMA

                                                                    DAVID SILLDORF
                                                                    DefendWlt's Attorney
REGISTRATION NO.                 41661298
0­
THE DEFENDANT:
IZI pleaded guilty to count(s)         ONE AND SIX OF THE SUPERSEDING INDICTMENT

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s):
                                                                                                                                   Count
Title & Section                       Nature of Offense                                                                        Number(s)
21 USC 841(a)(l) and 846              CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                    1

18 USC 922(g)(1) and                  FELON IN POSSESSION OF A FIREARM                                                                 6
924(a)(2)



     The defendant is sentenced as provided in pages 2 through                 4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 IZI Count(s) UNDERLYING INDICTMENT                            is         dismissed on the motion ofthe United States.

 IZI   Assessment: $100.00 AS TO EACH COUNT ($200.00 TOTAL)



 IZI   No fine                0 Forfeiture pursuant to order filed                                                    , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                       ON.MICHAEC1d~ANELLO
                                                                     UNITED STATES DISTRICT JUDGE



                                                                                                                           14CR0221 MMA
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 ONE-HUNDRED FORTY -FOUR (144) MONTHS AS TO COUNT 1 AND ONE-HUNDRED TWENTY (120)
 MONTHS AS TO COUNT 6. COUNT 6 TO RUN CONCURRENT TO COUNT 1. DEFENDANT TO RECEIVE
 FEDERAL CUSTODY CREDIT AS OF MARCH 28, 2014.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 181   The court makes the following recommendations to the Bureau of Prisons:
       COURT RECOMMENDS PLACEMENT IN THE SOUTHEAST REGION OF THE UNITED STATES.
       ALTERNATIVELY, THE COURT RECOMMENDS PLACEMENT IN ANY REGION OTHER THAN
       THE WESTERN REGION OF THE UNITED STATES.


 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
             at                              A.M.              on
                                                                    -----------------------------------------
        o    as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o    on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 _________________________ ro _____________________________

 at                                         , with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL


                                                                                                      14CR0221 MMA
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                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS AS TO COUNT 1 AND THREE (3) YEARS AS TO COUNT 6. COUNT 6 TO RUN CONCURRENT
TO COUNT I.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o           substance abuse. (Check, if applicable.)
IZl         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
I2l
            Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

             If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
        such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
        Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
       1) the defendant shall not leave the judicial district without the pennission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
       6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shalI refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted pennission to do so by the probation officer;
       10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
           observed in plain view ofthe probation officer;
       11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shaH not enter into any agreement to act as an infonner or a special agent of a Jaw enforcement agency without the pennission of
            the court; and
       13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
            with such notification requirement.

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                              SPECIAL CONDITIONS OF SUPERVISION


     1. Submit your person, property, residence, office or vehicle to a search, conducted by a
        United States Probation Officer at a reasonable time and in a reasonable manner, based
        upon reasonable suspicion of contraband or evidence of a violation of a condition of
        release; failure to submit to a search may be grounds for revocation; the defendant shall
        warn any other residents that the premises may be subject to searches pursuant to this
        condition.


     2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat
        patch testing and counseling, as directed by the probation officer. Allow for reciprocal
        release of information between the probation officer and the treatment provider. May be
        required to contribute to the costs of services rendered in an amount to be determined by
        the probation officer, based on ability to pay.


     3. Report all vehicles owned or operated, or in which you have an interest, to the probation
        officer.


     4. Reside in a residential re-entry center (RRC) for a period up to 120 days, if directed by
        the probation officer.


     5. Shall not associate with any member, prospect, or associate of any gang, or any other
        gang, or club with a history of criminal activity, unless given permission by the probation
        officer.


     6. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other
        materials associated with a gang, unless given permission by the probation officer.


     7. Shall not loiter, or be present in locations known to be areas where gang members
        congregate, unless given permission by the probation officer.

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                                                                                          14CR0221 MMA
